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 7
     Attorneys for Plaintiff
 8   SYNTHEGO CORPORATION

 9
                                UNITED STATES DISTRICT COURT
10
                          NORTHERN DISTRICT OF CALIFORNIA
11

12
     SYNTHEGO CORPORATION,                    Case No.:
13

14                 Plaintiff,                 COMPLAINT FOR DECLARATORY
                                              JUDGMENT OF NONINFRINGEMENT
15        v.

16   AGILENT TECHNOLOGIES, INC.,
17                 Defendant.
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     COMPLAINT FOR DECLARATORY JUDGMENT
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 1           Plaintiff Synthego Corporation (“Synthego” or “Plaintiff”), for its complaint against
 2   Agilent Technologies, Inc. (“Agilent” or “Defendant”), alleges as follows:
 3                                      NATURE OF THE ACTION1
 4           1.      This is an action for declaratory judgment of non-infringement of U.S. Patents
 5   Numbers 10,900,034 (“the ’034 patent”) (attached hereto as Exhibit 1) and 10,337,001 (“the ’001
 6   patent”) (attached hereto as Exhibit 2) (collectively, the “Agilent Patents”) by the manufacture,
 7   use, sale, offer for sale, and/or importation of Synthego CRISPR RNA products, including at least
 8   the CRISPREVOLUTION line of Synthetic sgRNA kits and Advanced RNA and CRISPR GMP
 9   sgRNA Manufacturing services, as well as performance of Synthego’s ECLIPSE genome editing
10   services (collectively, the “Synthego Accused Products”).
11           2.      As a result of Agilent’s communications to Synthego regarding the patents in suit,
12   Synthego is under reasonable apprehension of suit by Agilent.
13                                                  PARTIES
14           3.      Plaintiff Synthego is a corporation organized and existing under the laws of
15   Delaware with its headquarters and principal place of business at 3696 Haven Ave. Suite A,
16   Redwood City, CA 94063. Synthego develops genome engineering platforms for researchers and
17   institutions.
18           4.      Synthego was started by engineers and scientists to help make genome engineering
19   tools accessible in order to improve medicines and bring prices down, and facilitate the
20   development of new life-saving therapies for patients in need.              Synthego’s innovations in
21   machine learning and robots enable reliable and safe discovery, development and translation of
22   gene editing based medicines at scale. Scientists across the world utilize Synthego’s technology
23   platform to develop cutting-edge research and therapeutics. Synthego’s technology has been
24   cited in hundreds of peer-reviewed publications and are utilized by thousands of commercial and
25   academic researchers.
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       Plaintiff notes that it intends to file petitions for inter partes review to address the validity of the
27   claims and expects the inter partes review proceedings to resolve any issues between the parties
     regarding the patents in this case. Plaintiff thus intends to request a stay of this action pending
28   resolution of said inter partes review proceedings.


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 1           5.          Synthego’s platforms utilize CRISPR technology to create scalable and reliable
 2   gene editing tools. CRISPR, which is an acronym for “clustered regularly interspaced short
 3   palindromic repeats,” is a technology that allows scientists to easily, predictably, and precisely
 4   edit the DNA of any genome. CRISPR technology utilizes an enzyme, Cas nuclease, which is
 5   capable of cutting DNA at precise nucleic acid sequences. The Cas enzyme employs a guide
 6   RNA (“gRNA”) which directs the enzyme to cut DNA at precise sequences.
 7           6.          Synthego has pioneered methods of developing and manufacturing single-guide
 8   RNA (“sgRNA”) to allow scalable development of CRISPR technologies. Synthego develops
 9   and sells these highly efficient sgRNAs. Synthego’s platform also includes kits that allow
10   researchers to design and produce, at scale, targeted sgRNAs. Synthego is assigned dozens of
11   patents worldwide as a result of its efforts in this field.
12           7.          Synthego’s sells sgRNAs to customers for use in development of clinical
13   therapeutics. Synthego’s customers are using or plan to use Synthego’s GMP-grade sgRNAs in
14   upcoming preclinical and clinical trials. Synthego’s sales and use of the Accused Products are
15   thus reasonably related to the development and submission of information to the Food and Drug
16   Administration or other laws regulating the manufacture, use, or sale of drugs or veterinary
17   biological products.
18           8.          On information and belief, Defendant Agilent is a corporation organized and
19   existing under the laws of Delaware with its principal place of business at 5301 Stevens Creek
20   Blvd. Santa Clara, CA 95051. Agilent can be served with process through its registered agent for
21   service, C T Corporation System, 330 N Brand Blvd. Glendale, CA 91203.
22                                       JURISDICTION AND VENUE
23           9.          This action arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.
24   and under the patent laws of the United States, 35 U.S.C. § 1 et seq. This Court has subject
25   matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.
26           10.         This Court has personal jurisdiction over Defendant Agilent because Agilent does
27   business in this District and maintains its corporate headquarters and principal place of business
28   in this District.
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 1           11.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) because
 2   Agilent does business in this District, maintains its principal place of business in this District, and
 3   is subject to personal jurisdiction in this District. Specifically, Agilent maintains its headquarters
 4   in its offices at 5301 Stevens Creek Blvd. Santa Clara, CA 95051. Agilent lists this address as its
 5   headquarters on its website. See https://www.agilent.com/en/contact-us/page (attached as Exhibit
 6   3).
 7                                   INTRADISTRICT ASSIGNMENT
 8           12.     Under Civil Local Rule 3-2(c), this action should be assigned to the San Francisco
 9   Division or the Oakland Division, because a substantial part of the events or omissions which
10   give rise to the claims occurred in San Francisco county. Assignment of this matter to the San
11   Francisco Division is also appropriate because both Synthego and Agilent do business in this
12   District. Furthermore, Plaintiff Agilent maintains its principal places of business in San Mateo
13   County, and is subject to jurisdiction in this District.
14                          EXISTENCE OF AN ACTUAL CONTROVERSY
15           13.     There is an actual controversy within the jurisdiction of this Court under 28 U.S.C.
16   §§ 2201 and 2202.
17           14.     On June 24, 2021, Thomas Redder, Associate Vice President of Business
18   Development and Licensing Transactions at Defendant Agilent, sent a letter to Scott Bizily,
19   General Counsel at Synthego, to license Agilent Patents covering certain types of guide RNAs.
20   See Exhibit 4. Agilent’s letter also included, as an attachment, a schedule of patents across three
21   patent families assigned to Agilent, which include the two Agilent Patents in this suit. Agilent
22   identified these patents as being particularly relevant to Synthego’s products. In that letter,
23   Agilent claimed that Synthego products, including in particular “CRISPREVOLUTION Synthetic
24   sgRNA” as well as “any of your services…which use modified gRNAs,” “benefit from or may
25   benefit from this Patented Technology.” Lastly, Agilent’s letter set a deadline of July 3, 2021 for
26   Synthego to respond, only nine days after the initial letter and on a Saturday of a holiday
27   weekend.
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     COMPLAINT FOR DECLARATORY JUDGMENT
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 1          15.     Agilent’s actions create a reasonable apprehension it would pursue legal action
 2   against Synthego were Synthego not to acquire a license. On August 10, 2021, Mr. Redder sent
 3   an email to Mr. Bizily to express his dissatisfaction with Synthego. In that email, Mr. Redder
 4   demanded that Synthego offer “an acceptance of terms or good faith redline/counter” in three
 5   days. Exhibit 5. Mr. Redder threatened that, should Synthego not respond by this deadline, the
 6   “process will likely be escalated to other more formal legalistic processes for managing our out-
 7   licensing programs and opportunities.”
 8          16.     In subsequent communications, Agilent has repeatedly pressured Synthego and
 9   created a cloud of legal uncertainty. On August 17, 2021, in response to Synthego’s request for
10   more time to properly conduct due diligence and communicate the offer to key-decision makers,
11   Mr. Redder responded by saying such a request was “disappointing.” Exhibit 6. On August 31,
12   2021, Mr. Redder further threatened Synthego by demanding that Synthego “express in binary
13   terms its interest in our invitation to license the referenced portfolio” “sometime soon.” Exhibit
14   7.
15          17.     Subsequently, Agilent stated that its “patience waiting for a simple ‘yes’ or ‘no’ to
16   our invitation to license of June 24th and/or a simple redline of our proposed term sheet of July
17   22nd has completely run out.” Exhibit 8. Agilent stated that if it did not “receive a substantive
18   response from Synthego to the attached proposed term sheet by the ‘end-of-day’ on Wed the 6th
19   of Oct, Agilent will conclude that Synthego is not interested in licensing this portfolio for any of
20   its past, present, or future products or services, and that Agilent may then undertake other
21   actions available to Agilent.” Id.
22          18.     Agilent’s allegation of specific Synthego products, identification of three patent
23   families it claims Synthego’s products “benefit from,” setting of tight deadlines, and threats to
24   “escalate” the process to “more formal legalistic processes” and “undertake other actions
25   available” create a reasonable apprehension of suit.
26                                            FIRST CLAIM
27                   Declaratory Judgment of Non-Infringement of the ’034 Patent
28          19.     The allegations of paragraphs 1 through 18 are incorporated herein by reference.
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 1          20.     The manufacture, use, sale, offer for sale, and/or importation of the Synthego
 2   Accused Products does not infringe, directly or indirectly, any valid claim of the ’034 patent.
 3          21.     The Synthego Accused Products do not infringe claims requiring a synthetic
 4   CRISPR guide RNA comprising (a) a crRNA segment comprising (i) a guide sequence capable of
 5   hybridizing to a target sequence in a polynucleotide, (ii) a stem sequence; and (b) a tracrRNA
 6   segment comprising a nucleotide sequence that is partially or completely complementary to the
 7   stem sequence, wherein the synthetic guide RNA has gRNA functionality comprising associating
 8   with a Cas protein and targeting the gRNA:Cas protein complex to the target sequence, and
 9   comprises one or more modifications in the guide sequence, wherein the one or more
10   modifications comprises a 2’-O-methyl, at least because the manufacture, use, sale, offer for sale,
11   and/or importation of the Synthego Accused Products consists of non-infringing acts under the
12   safe harbor provisions of 35 U.S.C. § 271(e)(1). The Synthego Accused Products are used for
13   purposes reasonably related to the development and submission of information to the Food and
14   Drug Administration or other laws regulating the manufacture, use, or sale of drugs or veterinary
15   biological products. The manufacture, use, sale, offer for sale, and/or importation of the Synthego
16   Accused Products therefore does not infringe the ’034 Patent under the safe harbor of § 271(e)(1).
17          22.     An actual and justiciable controversy exists between Synthego and Agilent as to
18   whether the ’034 patent is infringed. A judicial declaration is necessary and appropriate so that
19   Synthego may ascertain its rights regarding the ’034 patent.
20                                           SECOND CLAIM
21                   Declaratory Judgment of Non-Infringement of the ’001 Patent
22          23.     The allegations of paragraphs 1 through 22 are incorporated herein by reference.
23          24.     The manufacture, use, sale, offer for sale, and/or importation of the Synthego
24   Accused Products does not infringe, directly or indirectly, any valid claim of the ’001 patent.
25          25.     The Synthego Accused Products do not infringe claims requiring a synthetic
26   CRISPR guide RNA having at least one 5’-end and at least one 3’-end, the synthetic guide RNA
27   comprising (a) one or more modified nucleotides within five nucleotides from said 5’-end, or (b)
28   one or more modified nucleotides within five nucleotides from said 3’-end, or (c) both (a) and (b);
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 1   wherein said guide RNA comprises one or more RNA molecules, and has gRNA functionality
 2   comprising associating with a Cas protein and targeting the gRNA:Cas protein complex to a
 3   target polynucleotide, wherein the modified nucleotide has a modification to a phosphodiester
 4   linkage, a sugar, or both, at least because the manufacture, use, sale, offer for sale, and/or
 5   importation of the Synthego Accused Products consists of non-infringing acts under the safe
 6   harbor provisions of 35 U.S.C. § 271(e)(1). The Synthego Accused Products are used for
 7   purposes reasonably related to the development and submission of information to the Food and
 8   Drug Administration or other laws regulating the manufacture, use, or sale of drugs or veterinary
 9   biological products. The manufacture, use, sale, offer for sale, and/or importation of the Synthego
10   Accused Products therefore does not infringe the ’001 Patent under the safe harbor of § 271(e)(1).
11          26.     An actual and justiciable controversy exists between Synthego and Agilent as to
12   whether the ’001 patent is infringed. A judicial declaration is necessary and appropriate so that
13   Synthego may ascertain its rights regarding the ’001 patent.
14                                        PRAYER FOR RELIEF
15          WHEREFORE, Synthego respectfully requests that judgment be entered in its favor and
16   prays that the Court grant the following relief:
17          1.      A judgment declaring that Synthego has not infringed and is not infringing, either
18   directly or indirectly, any claims of the Agilent Patents and declaring that the manufacture, use,
19   sale, offer for sale, and/or importation of the Synthego Accused Products does not infringe,
20   directly or indirectly, any claims of the Agilent Patents;
21          2.      A judgment that Defendant Agilent and each of its officers, directors, agents,
22   counsel, servants, employees, and all persons in active concert or participation with any of them,
23   be restrained and enjoined from alleging, representing, or otherwise stating that Synthego or the
24   manufacture, importation, use or sale of the Synthego Accused Products infringe any of the
25   Agilent Patents, or from instituting or initiating any action or proceeding alleging infringement of
26   any of the Agilent Patents against Synthego or customers, manufacturers, users, importers, or
27   sellers of the Synthego Accused Products;
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     COMPLAINT FOR DECLARATORY JUDGMENT
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 1             3.   A judgment declaring that Synthego is the prevailing party and that this is an
 2   exceptional case under 35 U.S.C. § 285 and awarding Synthego its reasonable attorneys’ fees,
 3   expenses, and costs in connection with this case; and
 4             4.   A judgment awarding Synthego such other relief as the Court may deem just and
 5   proper.
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 8   Dated: October 5, 2021                               WEIL, GOTSHAL & MANGES LLP

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10                                                   By: /s/ Edward R. Reines
                                                          Edward R. Reines
11
                                                             Attorney for Plaintiff
12                                                           Synthego Corporation

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